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           IN THE UNITED STATES DISTRICT COURT
               FOR THE DISTRICT OF MARYLAND
                     –Northern Division–


MARSHALL TODMAN
2005 Magnolia Woods Ct.
Edgewood, MD 21040

and                                   Civil Action No.:

TIFFANY GATTIS
2005 Magnolia Woods Ct.
Edgewood, MD 21040,

            Plaintiffs

               –v–

THE MAYOR AND CITY COUNCIL
  OF BALTIMORE
100 North Holliday Street
Baltimore, MD 21202
 SERVICE ON:

 CITY SOLICITOR: The Honorable
    Andre M. Davis
 City Hall- Department of Law
 100 North Holliday Street
 Baltimore, MD 21202

and

BROCK COLLINS
3806 Thoroughbred Lane
Owings Mills MD 21117,

           Defendants.



          COMPLAINT AND DEMAND FOR JURY TRIAL


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      Plaintiffs Marshall Todman and Tiffany Gattis sue the City of Baltimore

and their former landlord, Brock Collins. Plaintiffs state as follows:

                                 Introduction

   1. Plaintiffs challenge as unconstitutional the provisions of the Baltimore

City Housing Code that allowed Landlord Brock Collins to deprive Plaintiffs of

substantially all of their personal belongings—without prior notice or just

compensation. Plaintiffs, former tenants of Defendant Collins, had neatly

boxed up their possessions and were ready to move out of Defendant Collins’

rental property when Defendant Collins exploited two City laws that allow a

landlord to declare a tenant’s belongings to be “abandoned” and to do so

without notice, despite the fact that no reasonable person ever would view the

contents of freshly packed moving boxes to be “abandoned” in any legal or

customary sense.

   2. In Baltimore City, all residential evictions are performed by the sheriff’s

office. The relevant provision of the Baltimore City Code does not provide any

mechanism for informing a tenant holding over with notice of a scheduled

eviction. The City Code also provides that at the time of the eviction, the

tenant’s belongings are conclusively deemed “abandoned” despite clear

evidence that the belongings are not ownerless. BALTIMORE, MD., CITY CODE

ART. 13, § 8A-4.



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   3. The Defendant landlord in this case invoked § 8A-4 to have the

Baltimore City Sherriff’s office unexpectedly evict Plaintiffs a day before they

were scheduled to voluntarily move out of their home. Defendant Collins

undertook this action after having been present at a court hearing weeks

earlier where Plaintiffs announced their intentions to move out on August 2,

2019.

   4. On July 31, 2019, Defendant Collins seized all of Plaintiffs’ personal

property and demanded exorbitant funds for the property’s return. Plaintiffs

could not pay. Thus, as a result of the City’s unconstitutional ordinances,

Plaintiffs lost all of their property; not just expensive electronics and kitchen

equipment, but irreplaceable family heirlooms, like the ashes of Plaintiff

Gattis’ great grandfather, original (and sole copies) of family photos, and the

American flag presented to Plaintiff Gattis’s family at her grandfather’s

funeral.

                                    Parties

   5. Plaintiffs are adult citizens of Maryland.

   6. The Mayor and City Council of Baltimore (“Defendant Baltimore City”)

is a municipal corporation organized and existing under the laws of the State

of Maryland.

   7. Defendant Brock Collins is a Maryland resident who regularly carries

on business in Baltimore City as the owner of residential rental properties in

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the City. In Baltimore City alone, Defendant owns at least seven rental

properties (none of which are registered with the Baltimore City Commissioner

of Housing and Community Development as required under BALTIMORE, MD.,

CITY CODE ART. 13, § 4-2).

                             Jurisdiction and Venue

   8. Plaintiffs’ claims against Defendant Baltimore City are brought under

the Civil Rights Act of 1871, 42 U.S.C. § 1983, to redress the deprivation of

Plaintiffs’ federal constitutional rights by the City of Baltimore under

BALTIMORE, MD., CITY CODE ART. 13, § 8A-4. Accordingly, this Court has

subject matter jurisdiction under 28 U.S.C. § 1343.

   9. This Court has supplemental jurisdiction over Plaintiffs’ claims against

Defendant Collins under 28 U.S.C. § 1367. Maryland law provides that any

claim involving the validity of an ordinance must include the relevant local

government as a defendant. MD. CODE, CTS. & JUD. PROC., § 3-405 (b).

Accordingly, including Plaintiffs’ claims against Defendant Collins in this

action is appropriate here because Defendant Baltimore City would have to be

named in any other lawsuit against Defendant Collins, creating a potential

risk of inconsistent outcomes.

   10. Venue is proper in this District under 28 U.S.C. § 1391(b).




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                        The Rental of the Property

   11. Plaintiffs were tenants of a property belonging to Defendant Collins

located at 4214 Ridgewood Ave, 1st Floor, Baltimore, MD 21215 (the

“Property”).

   12. Plaintiffs’ rental of the Property was for their own personal use as a

home.

   13. Plaintiffs and Defendant Collins had an oral lease, in violation of MD.

CODE, REAL PROP. § 8-208(a), which requires that landlords such as Defendant

Collins who offer five or more dwelling units for rent in Maryland to use a

written lease.

   14. Soon after they moved into the Property, Defendant Collins urged

Plaintiffs to move to one of his less desirable properties. After about nine

months of Defendant’s urging Plaintiffs to move to another of his rental units,

Plaintiffs decided to simply move out of the Property and sever their landlord-

tenant relationship with Defendant. Plaintiffs arranged to move into a new

rental property by August 2, 2019.

   15. In the meantime, Defendant Collins filed a tenant holding over action

against Plaintiffs, claiming that the lease was month-to-month and that

Defendant Collins had terminated the lease. A hearing occurred on July 2,

2019, in the District Court of Maryland (the “Hearing”).




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           The Law of Residential Evictions in Baltimore City

   16. Since 2013, Maryland has prohibited non-judicial evictions for

residential tenancies. MD. CODE, REAL PROP. § 8–216. Unless the tenant

voluntarily vacates the property, an eviction may be conducted only “[i]n

accordance with a warrant of restitution issued by a court and executed by a

sheriff or constable.” § 8–216(b)(2)(i).

   17. A landlord who is allegedly entitled to possession of a property, whether

through the tenant’s non-payment of rent, breach of lease, or refusal to vacate

the property at the expiration of the lease, can file an action seeking possession

in the District Court for the county where the property is located. If the

landlord prevails at trial, the District Court will issue an order granting the

landlord possession, which gives the landlord the ability to then file a petition

for warrant of restitution.

   18. A warrant of restitution directs the sheriff’s office to schedule and

perform an eviction. In Baltimore City, the landlord has up to 60 days to file a

petition for warrant of restitution with the District Court of Maryland after

the landlord prevails at trial. BALTIMORE, MD., PUBLIC LOCAL LAWS § 9-6. If the

petition is granted, the landlord then brings the warrant of restitution to the

Baltimore City Sheriff’s Office, which then schedules an eviction date, typically

for a few weeks later.




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   19. In general, once the eviction is scheduled, BALTIMORE, MD., CITY CODE

ART. 13, § 8A-2 requires the landlord to give notice to the tenant of the pending

eviction date, including by mail at least 14 days prior to the scheduled eviction

and by posting on the property at least 7 days prior to the scheduled eviction.

Among other things, the required notice must “prominently warn the tenant

that any property left in the leased dwelling will be considered abandoned and

may be disposed of on execution of the warrant of restitution.” § 8A-2 (d)(4).

   20. For reasons that are not apparent (or constitutional), Baltimore City has

excluded from any notice requirements several kinds of evictions, including

tenant holding over actions. § 8A-2 (a)(2)(iii).

   21. Nevertheless, even though they are not given the warning that their

belongings are in jeopardy or even notice of the eviction date, the Baltimore

City Code still provides that the belongings of tenants holding over who are

evicted are deemed “abandoned,” and that the landlord may dispose of them at

will and without liability to the tenant. § 8A-4.

   22. Tenants are never given an opportunity, either before or after their

property is confiscated, to rebut the City’s forced presumption that they have

abandoned their property.




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                          The July 2, 2019 Hearing

   23. On July 2, 2019, in the tenant holding over action, both Plaintiffs and

Defendant Collins were present and appeared before a Judge in the District

Court of Maryland sitting in Baltimore City.

   24. The Judge started the Hearing by asking whether the parties had been

able to discuss a possible agreement. Plaintiffs informed the Judge that they

had secured a new rental home and could move into to their new home on

August 2, 2019.

   25. The Judge then asked Defendant Collins whether he would agree to a

stay of the matter until August 2, 2019, to which Defendant Collins replied

that he was concerned that if there was a stay until August 2, 2019, and the

Plaintiffs did not leave the Property when they said they would, it would take

him several additional weeks to evict them.

   26. The Judge then mentioned to Defendant Collins that if Plaintiffs agreed

to a stay of two weeks, any eviction would likely be scheduled at least two

additional weeks from the date any warrant of restitution would be issued.

Defendant Collins expressed skepticism, complaining that “the way the sheriff

is running, if you push it out two weeks, it’s not going to be August 2.”

   27. The Judge responded that if she stayed the judgment for two weeks, she

was sure that he would file for a warrant of restitution on July 17 after the




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stay lifted, and thus would have an eviction scheduled for shortly after August

2.

      28. Based on that, the parties seemed to express a willingness to agree to a

two-week stay. The Judge summarized: “My understanding is that Mr.

Todman and Ms. Gattis are consenting to a judgment and the stay of execution

will be until the 16th of July, at which point it would still take at least two

weeks to schedule an eviction[,] therefore you would still have your full month

before you would be evicted, is that correct?” The parties agreed.

      29. Right before the Hearing concluded, Defendant Collins asked the Judge

whether he could file for the warrant of restitution on July 16 or had to wait

until July 17. The Judge said Defendant Collins would have to talk to the

clerks, at which point Defendant Collins stated, “I’ll do it the 17th.”

      30. At no point during the Hearing or otherwise did the Judge or Defendant

Collins mention to Plaintiffs that in the event an eviction were to be scheduled

for earlier than August 2, 2019, under § 8A-4, Plaintiffs would not be notified

of when the eviction would occur and that all of Plaintiffs’ personal property at

the Property at the time of the eviction would be deemed abandoned.

                          The Lead-up to the Eviction

      31. Plaintiffs confirmed a move-in date for their new apartment of August

1, 2019 – a day earlier than they stated their moving date could be during the




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Hearing. Plaintiffs packed up their belongings and rented a moving truck for

their planned move on August 1, 2019.

   32. Yet Defendant Collins, in contradiction to his statement during the

Hearing that he would wait until July 17, 2019, to schedule an eviction, filed a

petition for warrant of restitution on July 15, 2019.

   33. Despite the fact that this violated the stay that the Judge ordered until

July 16, 2019, the District Court of Maryland accepted the filing and issued a

warrant of restitution on July 16, 2019, directing the sheriff to schedule an

eviction.

   34. Contrary to the expectations of the Judge and the statements of

Defendant Collins at the Hearing, the Baltimore City Sheriff’s Office moved

forward expeditiously, scheduling the eviction for July 31, 2019.

   35. Defendant Collins was informed by the Sheriff’s Office of the date for

the eviction and knew that this was earlier than Plaintiffs expected, but

provided Plaintiffs with no notice that the eviction had been scheduled.

   36. Plaintiffs were left unaware that the eviction was scheduled two days

earlier than they had been discussed at the Hearing and that by virtue of the

City Code, all of their worldly belongings would be deemed abandoned.

                                The Eviction

   37. On the morning of July 31, 2019, one day before their planned move,

Plaintiffs went to work as normal. Defendant Collins arrived at the Property

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with a Sheriff around 10:00 a.m. The only person home was Plaintiff Gattis’

ailing mother, who was told to leave the house and sit on a neighbor’s porch.

   38. Despite the obvious appearance of tenants planning to move all of their

belongings out of the Property, the Baltimore City Sherriff oversaw the eviction

and allowed Defendant to exercise dominion over Plaintiffs’ property by

changing the locks on the Property.

   39. Additionally, Defendant Collins grabbed Plaintiff Todman’s Yamaha

motorcycle that had been parked on the street and dragged it onto the

Property, inserted a wheel-locking mechanism, chained it to a tree, and

claimed that it too now belonged to him because motorcycle was “in or about”

the Property and thus deemed abandoned under § 8A-4.

   40. Plaintiffs rushed home from work when they learned of the eviction, but

by that time the locks were already changed. Defendant Collins texted

Plaintiffs, claiming that he now owned all of their belongings, despite the fact

that Plaintiffs’ belongings were packed in boxes, clearly ready to be moved, and

could not be reasonably believed to have been intentionally abandoned by

Plaintiffs.

   41. Plaintiffs demanded the return of their belongings on multiple

occasions, but were refused by Defendant Collins.

   42. Instead, Defendant Collins demanded that Plaintiffs pay him thousands

of dollars for their property. When Plaintiffs could not come up with the

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amounts demanded, Defendant Collins told them they must not want their

belongings back and ceased communication.

   43. Accordingly, Plaintiffs have been deprived, presumably permanently, of

the vast majority of their personal property, including, among other things,

irreplaceable pictures, documents and keepsakes, as well as clothing,

electronics, and furniture.

   44. Plaintiffs also suffered humiliation, discomfort, and distress as a result

of their mistreatment by Defendant Collins and the unconstitutional

ordinances that he exploited.

                               COUNT ONE
                       Damages Under 42 U.S.C. § 1983
                         (Defendant Baltimore City)

   45. The allegations set forth in all previous paragraphs are incorporated

herein by reference.

   46. The Due Process Clauses of the Fifth and Fourteenth Amendments to

the United States Constitution guarantee that no person shall be deprived of

property without due process of law.

   47. The Takings Clause of the Fifth Amendment prohibits the taking of

personal property without a valid public purpose and without just

compensation. The Takings Clause applies to Baltimore City through the Due

Process Clause of the Fourteenth Amendment.




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   48. BALTIMORE, MD., CITY CODE ART. 13, § 8A-4, which strips many evicted

residential tenants of their property without any prior notice of the

consequences of eviction, acts to deprive tenants of their property without due

process of law. The ordinance, with regard to the classes of tenants who do not

receive any prior notice of the consequences of eviction nor the dates of a

scheduled eviction, is facially unconstitutional. Additionally, the ordinance is

unconstitutional as applied to Plaintiffs.

   49. In addition, application of the City ordinance, which has the effect of

conclusively deeming property to be abandoned and up for grabs by landlords,

constitutes a taking. No valid public purpose is served by destroying tenants’

property interests in their personal belongings, particularly when the tenants’

intentions to maintain their ownership interests in that property is

undeniable. The fact that the City does not appropriate the property for itself,

but rather allows landlords to exercise complete dominion over the property

does not remove the ordinance from the reach of the Takings Clause. To the

contrary, forcing tenants to give up their property rights so that other private

parties may gain those rights exacerbates the constitutional violation.

   50. “Abandonment” in property law means the voluntary relinquishment or

renunciation of a property right, or an ownership vacuum resulting from the

owner's death without heirs or a valid will. The City’s distortion of this common

law concept effects a taking of personal property subject to the Fifth

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Amendment. The City cannot sidestep the Takings Clause by disavowing or

redefining traditional property interests.

   51. BALTIMORE, MD., CITY CODE ART. 13, § 8A-4 is an ordinance that was

officially adopted and promulgated by Defendant Baltimore City.

   52. Plaintiffs have been deprived of the vast majority of their worldly

belongings as a direct result of BALTIMORE, MD., CITY CODE ART. 13, § 8A-4,

which operated to deem their belongings “abandoned” and purported to absolve

Defendant Collins from any liability to Plaintiffs regarding their belongings.

   53. Accordingly, Defendant Baltimore City has deprived, or caused to be

deprived, Plaintiffs of their rights secured by the Due Process Clause and

Takings Clause under the Fifth and Fourteenth Amendments to the United

States Constitution under color of law, and is liable for the damages suffered

by Plaintiffs as a result.

                                 COUNT TWO
                             Declaratory Judgment
                               (All Defendants)

   54. The allegations set forth in all prior paragraphs are incorporated herein

by reference.

   55. Upon information and belief, Defendant Collins may still retain certain

items of personal property belonging to Plaintiffs, purportedly retaining

ownership of those items by operation of BALTIMORE, MD., CITY CODE ART. 13,

§ 8A-4.

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   56. Accordingly, Plaintiffs seek declaration that BALTIMORE, MD., CITY CODE

ART. 13, § 8A-4 is invalid as contrary to the Fifth and Fourteenth Amendments

to the Constitution of the United States.

                               COUNT THREE
                                 Conversion
                             (Defendant Collins)

   57. The allegations set forth in all prior paragraphs are incorporated herein

by reference.

   58. Defendant Collins intended to exercise and did exercise control over

Plaintiffs’ personal property.

   59. Defendant Collins’ exercise of control over Plaintiffs’ property was

unlawful for several reasons: First, BALTIMORE, MD., CITY CODE ART. 13, § 8A-

4, facially and as applied in this case, is unconstitutional because it deprives

tenants of their property without Due Process and effects a taking without just

compensation and without a valid public purpose. Second, Defendant Collins

was aware that Plaintiffs believed that any eviction would not occur until after

August 2, 2019, and indeed contributed to that belief from his statements

during the Hearing, yet proceeded with the eviction without giving Plaintiffs

prior notice.

   60. By retaining Plaintiffs’ belongings without legal justification, Defendant

Collins engaged in a conversion of Plaintiffs’ belongings.




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   61. Further, Defendant Collins committed a particularly egregious

conversion when he moved Plaintiff Todman’s motorcycle and claimed that it

was deemed abandoned under the City Code.

   62. In   converting   Plaintiffs’   belongings   without   legal   justification,

Defendant Collins acted maliciously, willfully and wantonly and with reckless

disregard for the rights of Plaintiffs, for his own benefit, intending to punish

Plaintiffs for perceived slights against him.

   63. As an actual and proximate result of Defendant Collins’ conduct,

Plaintiffs sustained the losses and damages set forth above.

                               COUNT FOUR
            Violation of the Maryland Consumer Protection Act
                             (Defendant Collins)

   64. The allegations set forth in all previous paragraphs are incorporated

herein by reference.

   65. The Maryland Consumer Protection Act (“MCPA”) prohibits the use of

any unfair, abusive, or deceptive trade practices in connection with, among

other things, the rental of residential property. The MCPA includes in the

definition of unfair, abusive, or deceptive trade practices the “[f]ailure to state

a material fact if the failure deceives or tends to deceive.” MD. CODE, COMM. L.

§ 13-301(3).

   66. Because Defendant Collins was aware that due to the Hearing, the

Plaintiffs believed that no eviction would occur before August 2, 2019, and

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indeed his own statements during the Hearing contributed to that belief,

Defendant Collins’ failure to inform Plaintiffs of the material fact that an

eviction was scheduled for two days earlier is a violation of the MCPA.

   67. As an actual and proximate result of Defendant Collins’ conduct in

violation of the MCPA, Plaintiffs sustained the losses and damages set forth

above.

         WHEREFORE, Plaintiffs demand the following relief jointly and

severally, against all Defendants:

         A. Compensatory damages in an amount to be determined at trial, but

            no less than $100,000.00;

         B. A declaratory judgment that BALTIMORE, MD., CITY CODE ART. 13, §

            8A-4   is   unconstitutional    under   the   Fifth   and   Fourteenth

            Amendments to the United States Constitution;

         C. Attorneys’ fees pursuant to 42 U.S.C. § 1988 with regard to

            Defendant Baltimore City and pursuant to MD. CODE, COMM. L. § 13-

            408 (b) with regard to Defendant Collins; and

         D. Costs, and such other and further relief as this Court may deed

            appropriate under the circumstances.

Further, Plaintiffs demand the following relief from Defendant Collins:

         E. Punitive damages in an amount to be determined at trial, but no less

            than $50,000.00.

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                                 JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a

trial by jury as to all issues so triable in this action.

 Dated:    November 15, 2019                  Respectfully submitted,

                                              /s/ Joseph S. Mack
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